                         IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

EAGLE MINING, LLC,                             )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )       Case No. 2:14-CV-22776
                                               )       Judge Thomas E. Johnston
ELKLAND HOLDINGS, LLC,                         )
                                               )
                       Defendant.              )


ELKLAND HOLDINGS, LLC,                         )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )       Case No. 2:14-CV-15043
                                               )       Judge Thomas E. Johnston
EAGLE MINING, LLC,                             )
                                               )
                       Defendant.              )

                              MOTION TO STAY PROCEEDINGS

       Elkland Holdings, LLC (“Elkland”) respectfully moves this Court to stay two actions 1

pending before this Court until a final determination is reached in Case No. 2:14-cv-27210 in this

Court (“the Reclamation Action”) and Case No. 14-C-152 in Boone County, West Virginia (“the

Mechanic’s Lien Action”). In support of its motion, Elkland states as follows:




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  On October 10, the Court, acting sua sponte, asked the parties to show cause why two companion cases,
Eagle Mining, LLC v. Elkland Holdings, LLC, et al., Case No. 2:14-cv-22776, and Elkland Holdings, LLC
v. Eagle Mining, LLC, Case No. 2:14-cv-15043, should not be consolidated. See Docket No. 46, Case No.
2:14-cv-22776; Docket No. 27, Case No. 2:14-cv-15043. Elkland agrees that that the cases should be
consolidated and filed a consent to that effect. At the time of this filing, however, these cases remain
separate. Therefore, Elkland seeks to stay both cases and submits its motion and supporting memorandum
in both cases.


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       1.      Elkland and Eagle entered into the CMA on February 1, 2009, pursuant to which

Eagle, the Contractor, mined certain coal from Elkland’s Cook Mountain Reserves in Boone

County, West Virginia.

       2.      In May 2013, Eagle initiated an arbitration proceeding against Elkland before the

American Arbitration Association (“AAA”) that was styled In the Matter of: Arbitration Under

Contract Mining Agreement Dated February 1, 2009 Between Eagle Mining, LLC and Elkland

Holdings, LLC, AAA No.: 55-198-86-13 (the “Arbitration”). In relevant part, Eagle sought

damages from Elkland, asserting that it had been underpaid for coal during the course of the

contract (the “Base Price Adjustment Claim”) and further asserting that Eagle lost profits when it

was improperly prevented from mining in a certain area commonly referred to as the Twilight

Reserves (the “Twilight Reserves Claim”).

       3.      The arbitration concluded in late January 2014. On March 18, 2014, the Arbitrator

entered an Award (“Award”) of $23,382,521 in Eagle’s favor. Relevant to this motion, the

assessed damages on the Base Price Adjustment Claim were $14,190,774, while the assessed

damages on the Twilight Reserves claim were $8,955,038. Because the Twilight Reserves were

never actually mined, the second component totalling nearly $9 million related to work that was

never done and, by extension, will require virtually no associated reclamation costs.

       4.      After Elkland timely filed a Petition in this Court to vacate and/or modify the

erroneous Award (Case No. 2:14-cv-15043), Eagle expressly disavowed its contractual

reclamation obligations and has informed Elkland that it has no intention of honoring its ongoing

duties under the CMA.

       5.      Specifically, Eagle breached the parties’ CMA by failing to 1) maintain necessary

permits, 2) comply with all state, federal, and local laws and regulations, 3) abate conditions



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resulting in noncompliance with any state, federal, or local law and regulation, 4) conduct

reclamation activities, and 5) pay bond premiums.

          6.      Additionally, Hanover Resources, LLC and Legacy Resources, LLC have now filed

the Mechanic’s Lien Action against both Eagle and Elkland arising out of Eagle’s failure to pay

for mining-related labor services in the approximate amount of $2.8 million. Under the CMA,

Eagle is responsible for bearing all costs associated with mining, including paying for labor, and

is also responsible for defending and indemnifying Elkland from such lawsuits. Elkland has cross-

claimed against Eagle in the Mechanic’s Lien Action.

          7.      On October 23, 2014, Elkland filed its Complaint against Eagle in the Reclamation

Action.        See Complaint, Docket No. 1, Case No. 2:14-cv-27210.            The Complaint and

accompanying exhibits reveal Eagle’s acknowledgment and repudiation of its reclamation

obligations under the CMA.

          8.      A court has the inherent power to stay the proceedings on its docket. Landis v.

North American Co., 299 U.S. 248, 254 (1936); Hewlett-Packard Co v. Helge Berg, 61 F.3d 101,

105 (1st Cir. 1995). The inherent authority to stay for prudential reasons is often exercised when

a related proceeding is pending in another tribunal. Hewlett-Packard, 61 F.3d at 105 (remanding

to district court to consider stay in favor of international arbitration); see also Marquis v. FDIC,

965 F.2d 1148, 1154-55 (1st Cir. 1992) (“beyond cavil” that federal courts “possess the inherent

power to stay pending litigation when the efficacious management of court dockets reasonably

requires such intervention” and remanding case for district court to consider stay in favor of federal

administrative claims review process); Taunton Gardens Co. v. Hills, 557 F.2d 877, 879 (1st Cir.

1977) (district court had authority to stay proceedings pending entry of final judgment in class

action involving other district courts).



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       9.      Eagle has made numerous representations to Elkland that it is insolvent or near

insolvency. Given the history of the Elkland-Eagle relationship, Eagle’s claim of poverty should

be viewed with great skepticism. Eagle was paid hundreds of millions of dollars over the course

of the CMA.

       10.     If the Award is confirmed and Elkland is required to pay Eagle all or some portion

of the Award (which Elkland denies would be appropriate), there is a great danger that Eagle will

distribute the money to its members, forever disavow its reclamation obligations, and Elkland will

be unable to recover from Eagle when Elkland obtains a judgment against Eagle in the Reclamation

Action and/or the Mechanic’s Lien Action.

       11.     Given that Eagle waited until after issuance of the Award to repudiate its

obligations under the CMA, Elkland had no opportunity to raise Eagle’s breach in the underlying

arbitration so as to obtain a set-off against Eagle’s award. Accordingly, Elkland requests that this

Court stay these proceedings pending a final determination in the Reclamation Action and the

Mechanic’s Lien Action.

       12.     Alternatively, and only in the event the Court declines to stay these actions (which

Elkland denies would be appropriate), Elkland requests that this Court defer entering judgment on

any award until the resolution of the Reclamation Action and the Mechanic’s Lien Action. See

Middleby Corp. v. Hussmann Corp., 962 F.2d 614, 616 (7th Cir. 1992) (affirming district court’s

order confirming arbitration award in favor of seller of business and against purchaser of business

but declining to enter judgment until the conclusion of a pending lawsuit brought by purchaser

against seller); Companhia de Navegacao Maritima Netumar v. Armada Parcel Service, No. 96

Civ. 6441, 1997 WL 16663, at *7 (S.D.N.Y. Jan. 17, 1997) (confirming arbitration award but

staying enforcement of award pending arbitration for claims for set-off and other unresolved



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claims).

       WHEREFORE, Elkland respectfully requests that the Court enter an order staying these

proceedings until a final determination is reached in Case No. 2:14-cv-27210 and Case No. 14-C-

152 or, in the alternative, staying entry of any judgment entered in these proceedings until a final

determination is reached in Case No. 2:14-cv-27210 and Case No. 14-C-152.

                                              Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I certify that on the 29th day of October, 2014, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent to the following parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system:

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                                                      /s/ John H. Tinney, Jr.
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